                              In the
                         Court of Appeals
                 Second Appellate District of Texas
                          at Fort Worth
                               No. 02-23-00405-CV

ANNTINA CHEATHAM, Appellant              §   On Appeal from County Court at Law No. 1

                                         §   of Tarrant County (2023-006131-1)
V.
                                         §   August 22, 2024
ALISETTY INVESTMENTS LLC C/O
HARIKISHORE ALISETTY, Appellee           §   Memorandum Opinion by Justice Kerr


                                  JUDGMENT

      This court has considered the record on appeal in this case and holds that the

appeal should be dismissed. It is ordered that the appeal is dismissed for want of

prosecution.


                                    SECOND DISTRICT COURT OF APPEALS


                                    By _/s/ Elizabeth Kerr__________________
                                       Justice Elizabeth Kerr
